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                             Exhibit 11
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           EXHIBIT A
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                                                        lldiko Mebes
                                                        Vice President & General Counsel, Teva North America, Generics
                                                        Leader, US Generics Products & Ponfolio




          Re: ANDA No. 77-530-Valsartan Tablets, 40 mg, 80 mg, 160 mg, and 320 mg

          I write regarding the above-referenced ANDA ("the Teva ANDA"), which is caught up in an
          unusual, perhaps even unique, situation. FDA has not approved Teva's ANDA, despite the
          expiration of the last patent-based obstacle to approval more than a year ago, apparently based on
          the view that Ranbaxy Laboratories Ltd. holds the first substantially complete ANDA for this
          product (No. 77-492, or "the Ranbaxy ANDA"). Yet Ranbaxy has thus far failed to obtain final
          approval and to launch its product. The reason presumably relates to the well-documented
          problems at several Ranbaxy facilities, including serious data-integrity violations. The Ranbaxy
          ANDA thus is preventing approval of numerous other AND As, including the Teva AND A. And
          none of the usual mechanisms for eliminating this sort of bottleneck appears to apply in this
          situation. As a result of Ranbaxy ' s problems, the holder of the reference listed drug, Diovan'11,
          still faces no generic alternatives, it has raised the price since the patent-related stay expired, and
          consumers have already lost about $900 million in potential cost savings. 1 This is an
          unprecedented set of circumstances. Given the impact on consumers, we felt it was important to
          raise this issue with FDA and to offer our help and guidance.

          Teva submits that recent developments under the Ranbaxy consent decree have opened a way
          forward for FDA. The information that has come to light about Ranbaxy casts significant doubt
          on Ranbaxy's status as a " first-filer" entitled to exclusivity. An ANDA that includes unreliable
          data developed at a tainted facility is not, and never was, substantially complete. And the list of
          Ranbaxy ' s tainted facilities has grown. Just in the last few months, FDA has barred from the
          U.S. market any drug that was manufactured at, or uses material from, Ranbaxy ' s Toansa
          facility- the very facility at which Ranbaxy apparently intended to manufacture the active
          pharmaceutical ingredients (API) for valsartan tablets. 2 Under the consent decree, the newly
          designated facility must be treated "as though it .. . were listed .. . when the Decree was
          entered." Decree~ XXIX. Those violations cast serious doubt on whether Ranbaxy could, in
          fact, have been the first to file a substantially complete ANDA.

          We are confident that FDA would not approve an ANDA for a product that Ranbaxy actually
          contemplated manufacturing at a tainted facility . But our concern is not limited to final
          approval. Treating Ranbaxy as the first-filer when it cannot obtain final approval serves to block
          the path to approval for others. And even if Ranbaxy can obtain tina! approval, that does not
          eliminate the need to scrutinize its original ANDA tiling. Even if Ranbaxy now can find another
          facility, or a business partner, that is not enough to show that Ranbaxy was entitled to exclusivity


          1
            See Makiko Kitamura, Ranbaxy 's Woes Add $900 Million to U. S. Heart Drug Costs, Bloomberg News, Apr. 15,
          2014, http://www .bloomberg.com/news/20 14-04-15/ranbaxy-s-woes-add-900-million-to-u-s-heart-drug-costs.html.
          ~ See Anmol Ganjoo, Ban may hit Ranbaxy's new product launches: JM Fin, moneycontrol.com, Jan. 24, 2014,
          http://www.moncycontrol.com/news/market-outlooklban-may-hit-ranbaxys-new-product-launches-jm-
          fin_ l 030820.html.
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      in the first place. Rather, the crucial question is whether, with all tainted data excluded,
      Ranbaxy's ANDA for valsartan tablets was substantially complete when filed .

      We therefore ask that FDA move expeditiously-if it has not already-to assess whether the
      Ranbaxy ANDA is properly viewed as having been substantially complete when filed.
      Assuming that FDA's investigation confirms our suspicion that the Ranbaxy ANDA contains
      tainted data, we request that FDA: (l) approve the Teva ANDA immediately; (2) award Teva the
      first-filer exclusivity on the ground that it was the first generic applicant to submit a substantially
      complete ANDA for this product; and (3) not approve any other ANDAs for this product until
      181 days after Teva' s launch, except for other AND As (if any) that were substantially complete
      and tiled on the same day as the Teva ANDA.

      Background on Valsartan Tablets

      Much of the background information appears in FDA's letter tentatively approving the Ranbaxy
      ANDA (attached as Exhibit I). Valsartan is an Angiotensin II Receptor Blocker used primarily
      to treat hypertension by lowering blood pressure. Valsartan is marketed in tablet fonn by
      Novartis Pharmaceuticals Corp. under the brand name Diovan Tablets (NDA 21-283, approved
      July 8, 2001 ). In the absence of generic competition, Diovan retails for well over $100 for a 30-
      day supply. According to Novartis's annual report, 2013 revenue from Diovan exceeded $1.5
      billion for U.S . sales alone.

      The Orange Book currently lists two patents for Diovan:

          •   U.S. Patent No. 6,294,197 (the' 197 patent), which expires June 18, 2017; and

          •   U.S. Patent No. 5,972,990 (the ' 990 patent), which expires October 26, 2016.

      A third patent, U.S. Patent No. 5,399,578 (the '578 patent), was previously listed, but that patent
      expired March 21, 2012. Pediatric exclusivity expired September 21, 2012.

      FDA has granted tentative approval to eight pending ANDAs for valsartan tablets, but has not
      granted tina! approval to any of them. The Ranbaxy ANDA is dated December 24, 2004, and
      received tentative approval on October 25, 2007. The Teva ANDA appears to be next: it was
      filed on January 7, 2005, and first received tentative approval on June I 0, 2008. It appears that
      the two listed patents are no obstacle to approving either the Ranbaxy ANDA or the Teva
      ANDA.

      With respect to the '197 patent, both Ranbaxy and Teva filed Paragraph IV certifications under
      Section 505U)(2)(A)(vii)(IV) of the FDCA, stating that the patent is invalid, unenforceable, or
      would not be infringed under the Ranbaxy or Teva AND As. Ranbaxy and Teva have both
      informed FDA that they provided Novartis with proper notice of the Paragraph IV certifications,
      and Novartis did not sue within 45 days to enforce the '1 97 patent against either Ranbaxy or
      Teva. Accordingly, it appears that pursuant to Section 505U)(5)(B)(iii), the '197 patent does not
      prevent FDA from approving either of these AND As.

       With respect to the '990 patent, through a use code in the Orange Book, Novartis claims only a
       particular use, i.e., use of valsartan to reduce cardiovascular mortality in certain groups of


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       patients. Both Ranbaxy and Teva filed statements pursuant to Section 505U)(2)(A)(viii) of the
       Act indicating that they do not seek approval for any indication claimed by the patent.
       Accordingly, it appears that the ' 909 patent also does not prevent FDA from approving either of
       these ANDAs.

       Because the patents do not prevent FDA from approving the Teva ANDA, Teva can only
       conclude that the obstacle preventing approval is a potential grant of first-filer exclusivity under
       Section 505(j)(5)(B)(iv) to Ranbaxy, which has not yet expired or been forfeited. We are not
       aware that any event that would give rise to torfeiture under Section 505U)(5)(D)(i) has
       occurred.

       Ranbaxy's Violations of the FDCA

       In a series of actions, culminating in the entry of a consent decree in 2012 and a guilty plea in
       2013 , FDA has determined that Ranbaxy has committed multiple violations of the FDCA,
       including violations that tainted a number of Ranbaxy 's ANDAs. The consent decree makes
       clear that FDA may determine, after factual investigation, that one or more of Ranbaxy's
       ANDAs was not "substantially complete" when filed, because of the inclusion of data from a
       tainted facility. Particularly in light of the recently identitied problems at the Toansa facility ,
       there is a significant possibility that the Ranbaxy ANDA for valsartan tablets was not
       substantially complete and that Ranbaxy is not entitled to exclusivity at all.

       The government told the United States District Court in a civil complaint under the Food, Drug
       and Cosmetics Act (FDCA) that Ranbaxy "ha[sl had a persistent problem with data integrity."
       Complaint~ 32. According to the government's complaint, Ranbaxy has "submitted numerous
       untrue statements of material fact in submissions to FDA." !d. In addition, the government
       charged, Ranbaxy has used " inadequate control measures for insuring the integrity of data." ld
       Among these violations were several instances in which Ranbaxy deleted failing test results and
       tested and re-tested samples until it achieved the result it sought.

       Of primary significance here, the consent decree provides that FDA will stop reviewing any
       ANDA that "contains any data or information generated or developed at" two facilities covered
       by the decree, Paonta Sahib and Dewas Consent Decree~~ VII.F, .G, XVII, United States v.
       Runbaxy Labs., Lid, No. 12-CV-250 (D. Md.). Such ANDAs will not be reviewed or approved
       unless and until FDA's concerns about the reliability of the data are resolved through a number
       of specific auditing steps involving an outside data-integrity expert. !d. ~ XVII .

       The consent decree also recognizes that FDA, the data-integrity expert, or both might discover
       that Ranbaxy 's pattern of data irregularities extended to other facilities as well. See id.
       ~~ XVII.D, XXIX. Accordingly, the decree provided that if FDA identified other Ranbaxy
       facilities giving ri se to "an untrue statement" or a "pattern and/or practice of data irregularities
       atfecting approval," FDA could bring those facilities under the Consent Decree. ld ~ XXIX. If
       FDA issues such an order, the designated facility or facilities "shall thereafter be fully subject to
       the provisions of this Decree as though it or they were listed as a Covered Facility ... when the
       Decree was entered." Thus, if a new facility is added to the decree' s coverage later, AND As
       tainted by work performed at that newly added facility are not grandfathered in; they are fully
       subject to the Decree' s requirements.


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      A few specified ANDAs- the identities of which are not public-are excepted from the hold that
      the decree imposed on ANDAs tainted by Paonta Sahib and Dewas. Those ANDAs are called
      ;·Excepted Applications," and Ranbaxy is required to establish in writing to FDA's satisfaction
      "whether the Excepted Applications were substantially complete . .. at the time they were
      initially filed. " Id. ~ VII.H, XIV. If the evidence shows that data contained in one of these
      ANDAs as submitted was tainted, then under the terms of the Consent Decree FDA is
      empowered to determine that the ANDA was not substantially complete at the time it was tiled,
      whether or not the ANDA appeared on its face to be complete. Ranbaxy would be "ineligible tor
      exclusivity for such ANDA." Jd. ~ XIV.A.2.

      In January 2014, FDA added Ranbaxy's facility at Toansa, India, to the decree's coverage. FDA
      found numerous violations at that facility, including various instances of "retesting" items "after
      those items failed analytical testing and specifications, in order to produce acceptable findings,
      and subsequently not reporting or investigating these failures." FDA Press Release (Jan. 23,
      2014). As noted above, supra note 2, it had been widely reported that Ranbaxy planned to
      manufacture its generic valsartan tablets using API from Toansa. FDA's decision to bar from the
      United States any product tainted by association with Toansa has now called Ranbaxy's plans
      into serious question. Under the provisions of the consent decree cited above, if the evidence
      demonstrates that Ranbaxy ' s valsartan ANDA contained tainted data from Toansa (or any other
      Ranbaxy facility covered by the decree), FDA should determine that Ranbaxy's ANDA was not
      substantially complete when filed and that Ranbaxy is not eligible for exclusivity for that
      AND A.

      Requirement to Determine Exclusivity

      Although the contents of Ranbaxy's ANDA are not publicly available, Ranbaxy's conduct gives
      rise to grave concern about the validity of its initial ANDA submission-the submission that,
      while not yet approved, appears to be blocking seven other generics from the market. In
      particular, because Ranbaxy ' s ANDA was dated December 24, 2004, and amended several times
      leading up to tentative approval on October 25 , 2007, it appears that it likely was based on data
      developed during the period of time during which- to use FDA' s characterization-Ranbaxy
      was having "a persistent problem with data integrity." IfRanbaxy's ANDA was in fact tainted
      by data-integrity problems, it very likely was not substantially complete when it was filed. As a
      consequence, the Ranbaxy ANDA should not block approval of the Teva ANDA, and Ranbaxy 's
      tainted filing should not deprive Teva of its right to be awarded first-filer exclusivity for the
      product as the first applicant to have submitted a substantially complete ANDA.

      The statutory requirement is clear: FDA cannot award exclusivity to an ANDA applicant
      without determining the date on which that applicant submitted a "substantially complete"
      ANDA. The applicant is not a " first applicant," and is not eligible for exclusivity, if another
      applicant submitted a ··substantially complete" ANDA containing a Paragraph IV certification
      for the same listed drug on an earlier date. See FDCA § 505(j )(5)(B)(iv)(II)(bb); 21 C.F.R.
      § 314.1 07( c)(2). On the other hand, an applicant whose submission is not substantially complete
      cannot properly be considered a true first applicant and, thus, cannot prevent the first
      substantially complete filer from receiving the exclusivity to which the statute entitles it.




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      An application is not "substantially complete" unless it meets the two statutory criteria. First, it
      must "on its face" be "sufficiently complete to permit a substantive review." Second, it must
      "contain[] all the information required by [Section 505U)(2)(A)]." FDCA
      § 505U)(5)(B)(iv)(Il)(cc).

      An application does not contain all the information required by the FDCA, and thus is not
      "substantially complete," if it contains forged or fraudulent data about the drug or its
      manufacture, processing, and packing. The statute, its legislative history, and FDA's consistent
      practice all make clear that an applicant cannot obtain the benefit of exclusivity if that applicant
      won the mce to file first by making up data.

          •   First, the statute requires that the application "contain[] all the information required by"
              the statutory provision governing the contents of an AND A. That provision includes, by
              cross-reference, the requirement that the ANDA include "a full description of the
              methods used in, and the facilities and controls used for, the manufacture, processing, and
              packing of such drug." FDCA § 505(b)(l)(D); see FDCA § 505U)(2)(A)(vi) (cross-
              referencing clause (b)( I )(D)). ·me statute also requires that an ANDA contain
              "information to show" certain key facts, such as bioequivalence to the reference listed
              drug. FDCA § 505U)(2)(A)(i), (ii)(I), (ii)(II), (ii)(III), (iii), (iv), (v). An ANDA cannot
              provide a "full description" of the manufacturing process, or "information to show"
              bioequivalence, if the "description" or " information" are fictitious even in part.

          •   Second, the legislative history confirms the common-sense point that Congress did not
              want to encourage the submission of"sham ANDA's or ANDA's which are substantially
              incomplete." H.R. Rep. No. 98-857, Pt. I, at 24 (1984). The House Committee Report
              observed that at a minimum the applicant must have "made a good faith effort to meet the
              [statutory] requirements ... regarding the contents of an ANDA." !d. It is difficult to
              imagine conduct less likely to qualify as a "good faith etfort" than the conscious
              alteration of data or the knowing submission of tainted data.

          •   Third, Congress adopted the current definition of"substantially complete" against a
              backdrop of agency practice. One of the most relevant aspects of that practice was
              FDA's treatment of bioavailability and bioequivalence studies. FDA has provided for
              many years that an ANDA applicant needs to provide a bioequivalence study as part of
              its ANDA, or the application ordinarily will not be deemed substantially complete. 21
              C.F.R. § 314.107(c)(2). Because a study conducted at a facility with a pattern or practice
              of data-integrity violations is effectively no study at all, an ANDA submitted with such a
              tainted study cannot be regarded as substantially complete.

          •   Fuurth, the consent decree signed with Ranbaxy resolves any doubt that substantial
              completeness may be evaluated after problems with an initial submission come to light.
              The consent decree provides that FDA will evaluate the substantial completeness of
              Ranbaxy's ANDAs not as of the date they were filed, but as of today, "based on any
              information" that comes to FDA's attention. Decree~ XIV.A.l. Indeed, Ranbaxy is
              required to make additional written submissions to enable FDA to make that
              determination. That provision would make no sense ifFD/\ could determine substantial
              completeness only by looking at the face of the ANDA.


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      The upshot is clear: if FDA's review of the Ranbaxy ANDA today, in light ofthe recent
      revelations about the Toansa plant or other Ranbaxy facilities tainted by fraud, demonstrates that
      the Ranbaxy ANDA did not contain all the actual, non-tainted information required by statute,
      then the Ranbaxy ANDA was not substantially complete as of the time it was submitted; it is not
      eligible for an award of exclusivity; and it can no longer block approval of the Teva AND A.

                        Requirement To Award Exclusivity To The Rightful First Filer

      The consequence of finding that Ranbaxy' s ANDA is not substantially complete does not end
      with ruling that it provides no basis for delaying approval of the Teva ANDA. FDA also must
      determine which applicant did file the first substantially complete ANDA for this product, and
      award the first-filer exclusivity to that applicant. Here, we believe that the first-tiler exclusivity
      would properly be awarded to Teva.

      The statute clearly provides that the exclusivity analysis looks only at the first day when a
      substantially complete ANDA is filed. FDCA § 505U)(5)(B)(iv)(II)(bb). If an ANDA is not
      substantially complete, it simply drops out of the exclusivity analysis. Conversely, if a
      Paragraph IV ANDA is substantially complete when it is tiled, and if it is filed on the first day
      when a substantially complete ANDA is filed, it does not matter whether another Paragraph IV
      ANDA was filed on an earlier date but turned out not to be substantially complete. That
      applicant is entitled to exclusivity, because it unambiguously meets the definition of a "first
      applicant": "on the first day on which a substantially complete application containing a
      [Paragraph IV certification] is submitted for approval of [the] drug, [that applicant] submit[ ted] a
      substantially complete application that contain[ed] and lawfully maintain[ ed] a [Paragraph IV
      certification] for the drug." !d. The grant of exclusivity is "the device Congress has chosen to
      induce challenges to patents claimed to support brand drugs." Teva Pharms. USA , Inc. v.
      Sebelius, 595 F.3d 1303, 1318 (D.C. Cir. 2010). FDA lacks authority to deny an applicant the
      congressionally prescribed reward. 3

      The addition of the "forfeiture events" to the statute in 2003, see FDCA § 505U)(5)(D), does not
      change that analysis. FDA can use its power to revoke exclusivity based on a "forfeiture event"
      only if the applicant properly qualifies for exclusivity in the first place. If an applicant is not a
      "first applicant" -i. e., if someone else was the first to submit a substantially complete Paragraph
      IV ANDA-then the forfeiture provisions have no application at ali. See FDCA
      § 505U)(5)(D)(ii) (exclusivity "shall be forfeited by a first applicant if a forfeiture event occurs
      with respect to thatfirst applicanr" ) (emphasis added). FDA can take away exclusivity from
      everyone only "if all first applicants forfeit" their exclusivity under the statute. FDCA
      § 505U)(5)(D)(iii) (emphasis added). If Ranbaxy was never a "first applicant" entitled to
      l!xclusivity to valsartan, it cannot have forfeited that exclusivity - and it certainly cannot have
      forfeited the exclusivity that Teva receives as the apparent first applicant. Teva certainly has not
      done anything to cause a forfeiture.

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        Oefore the Teva v. Sebelius decision, in the 1999 Federal Register notice discussed above, fDA took the position
      that if an application were later deemed "not .. . to be substantially complete," FDA could deny the app licant
      exclusivity and deny exclusivity to an y other applicant with respect to the same listed drug. See 62 Fed . Reg.
      42, 875. Adopting that position would have been legal error, and we request that the agenc y confirm that it is not
      ta king that position today.




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      And FDA is not locked into making a substantial-completeness determination at the time it
      receives an ANDA. Rather, under the statute, FDA is to make that determination when it sets the
      etfective date for the approval of a subsequent ANDA. FDCA § 505U)(5)(B)(iv). In the case of
      the numerous ANDAs for valsartan tablets awaiting FDA's approval, that time is now.

                                                 Conclusion

      In this case, FDA must decide now whether there is any reason justifying the continued refusal to
      approve the Teva ANDA. FDA should accordingly make that decision based on its present-day
      understanding of whether the Ranbaxy ANOA was substantially complete when filed. There is
      absolutely no reason under the statute, regulations, or agency practice for FDA to blind itself to
      the last several years of data-integrity problems in Ranbaxy ANDAs. In short, if the Ranbaxy
      ANDA was deficient when submitted, and if Ranbaxy did not correct the problems with its data
      until after another applicant submitted a substantially complete ANDA for valsartan tablets, then
      Ranbaxy is not entitled to exclusivity.

      Here Teva did everything right. The Teva ANDA was submitted promptly and with robust data.
      It appears that only Ranbaxy was ahead ofTeva in line. FDA thus must now determine whether
      Ranbaxy jumped ahead in line by duplicitous means, ie filing an ANDA that was never
      "substantially complete". If it did, there can be only one conclusion: Teva is entitled to
      exclusivity as the true fust filer (along with anyone else filing an ANDA on the first date when a
      substantially complete application was received).

      Please respond on or before May 15 -and in any event before FDA takes any action to approve
      an ANDA for valsartan tablets other than the Teva ANDA. We would also welcome the
      opportunity to discuss these points with you in person at your earliest convenience.




      lldiko Mehes

      Vice President & General Counsel, Teva North America, Generics
      Leader, U.S. Generics Products & Portfolio




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